
Maria S. Masigla, P.T., as Assignee of Gomez, Sarae, Appellant, 
againstELRAC, Inc., Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Carman, Callahan &amp; Ingham, LLP (Joshua Copperman, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Mojgan Cohanim Lancman, J.), entered March 5, 2015. The order, insofar as appealed from, granted the branches of defendant's motion seeking summary judgment dismissing the third, fifth and seventh causes of action.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from so much of an order of the Civil Court as granted the branches of defendant's motion seeking summary judgment dismissing the third, fifth and seventh causes of action. 
Contrary to plaintiff's sole contention on appeal, the proof submitted by defendant in support of its motion was sufficient to give rise to a presumption that the denial of claims forms had been timely mailed (see St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co., 50 AD3d 1123 [2008]).
Accordingly, the order, insofar as appealed from, is affirmed. 
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: December 22, 2017










